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                                      UNITED STATES DISTRICT COURT
                                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION




VERRAGIO, LTD.                                              CASE NO. 1:17-CV-00750

                     Plaintiff,
                                                            STIPULATION FOR DISMISSAL
         vs.

GM CASTING HOUSE, INC.,

                     Defendant.



       Plaintiff Verragio, Ltd. and Defendant GM Casting House, Inc., having resolved the above-

entitled action pursuant to a Confidential Settlement Agreement and Release between them, hereby

stipulate and agree pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(ii) that this action be and hereby is

dismissed with prejudice in its entirety, with each party to bear its own attorneys’ fees and costs.

                                                        Respectfully submitted,

TUCKER ELLIS LLP                                        LINDSAY, PICKETT, RAPPAPORT & POSTEL,
                                                        LLC
By: /s/Nathan T. Newman
     Nathan T. Newman – ARDC #6322359                   By: /s/Christopher J. Pickett
     Tucker Ellis LLP                                         Christopher J. Picket (6287096)
     233 South Wacker Drive, Suite 6950                       Avery Kerr Gordon (6319201)
     Chicago, IL 60606                                        LINDSAY, PICKETT, RAPPAPORT &
     Telephone: 312.624.6300                                  POSTEL, LLC
     Facsimile: 312.624.6309                                  10 S. LaSalle St., Suite 1301
                                                              Chicago, IL 60603
               and                                            cpickett@lprp-law.com
                                                              Direct: 312.596.7779
                                                              agordon@lprp-law.com
     Howard A. Kroll                                          Direct: 312.734.8974
     howard.kroll@tuckerellis.com
     515 South Flower Street, 42nd Floor                Attorneys for Defendant
     Los Angeles, California 90071
     Telephone:      213-430-3400
     Facsimile:      213-430-3409
     Attorneys for Plaintiff




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